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 6
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 7 United States of America

 8

 9                              IN THE UNITED STATES DISTRICT COURT

10                                 EASTERN DISTRICT OF CALIFORNIA

11
     UNITED STATES OF AMERICA,                          CASE NO. 2:08-CR-0093-KJM
12
                                 Plaintiff,             STIPULATION AND ORDER REGARDING
13                                                      SELF SURRENDER
                           v.
14                                                      DATE: N/A
     LEONARD BERNOT,                                    TIME: N/A
15                                                      COURT: Hon. Kimberly J. Mueller
                                 Defendant.
16

17

18                                              STIPULATION

19          Plaintiff United States of America, by and through its counsel of record, and defendant, by and

20 through defendant’s counsel of record, hereby stipulate as follows:

21          1.     Defendant Leonard Bernot is currently released on bail pending appeal pursuant to 18

22 U.S.C. § 3143(b).

23          2.     On December 27, 2016, the Ninth Circuit issued a memorandum of disposition affirming

24 the defendant’s sentence.

25          3.     On February 14, 2017, the circuit court’s mandate was filed with this Court. ECF No.

26 1539.

27          4.     As a result of the circuit court’s affirmance of the sentence, the defendant no longer

28 meets the statutory requirements for bail pending appeal. See 18 U.S.C. § 3143(b).
            5.     The defendant has filed a new motion for bail pending collateral attack of his guilty plea.
      STIPULATION REGARDING SELF-SURRENDER            1
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 1          6.      The parties agree that a self-surrender date of April 3, 2017, will give the defendant

 2 sufficient time to make arrangements and to put his affairs in order.

 3          7.      Therefore, the parties agree and stipulate, and request that, unless the Court grants the

 4 defendant’s pending motion for bail pending collateral attack, the Court order that the defendant self-

 5 surrender no later than Monday, April 3, 2017 at 2:00 p.m. to the facility designated by the Bureau of

 6 Prisons, or to the nearest U.S. Marshall’s Office.

 7          8.      The parties further stipulate and agree that a willful failure to appear on that date will

 8 constitute a separate felony violation, punishable by a consecutive term of imprisonment and/or a fine.

 9          9.      Counsel for the defendant further represents that she has discussed the foregoing

10 stipulation and proposed order with the defendant and that the defendant understands and agrees with

11 each of the stipulations set forth herein, and has authorized counsel to stipulate on his behalf.

12          IT IS SO STIPULATED.

13
     Dated: February 17, 2017                                 PHILLIP A. TALBERT
14                                                            Acting United States Attorney
15
                                                              /s/ MICHAEL D. ANDERSON
16                                                            MICHAEL D. ANDERSON
                                                              Assistant United States Attorney
17

18
     Dated: February 17, 2017                                 /s/ KARYN H. BUCUR
19                                                            KARYN H. BUCUR
20                                                            Counsel for Defendant
                                                              LEONARD BERNOT
21

22

23                                          FINDINGS AND ORDER

24          IT IS SO FOUND AND ORDERED this 28th day of February, 2017.

25

26

27                                                            UNITED STATES DISTRICT JUDGE
28

      STIPULATION REGARDING SELF-SURRENDER                2
